     Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 1 of 25




                    UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS

                                      )
                                      )
GABRIEL GARAVANIAN, et al.,           )
                                      )
     Plaintiffs,                      )
                                      )
v.                                    )
                                        Civil Action No. 1:23-cv-10678-WGY
                                      )
JETBLUE AIRWAYS CORPORATION and       )
SPIRIT AIRLINES, INC.,                )
                                      )
     Defendants,                      )
                                      )
                                      )
                                      )


           MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS’
                 MOTION FOR SUMMARY JUDGMENT
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 2 of 25


                                               TABLE OF CONTENTS

                                                                                                                                       Page

I.     PRELIMINARY STATEMENT ....................................................................................... 1
II.    BACKGROUND ............................................................................................................... 2
III.   LEGAL STANDARD........................................................................................................ 3
IV.    ARGUMENT ..................................................................................................................... 5
       A.        Plaintiffs Fail to Establish Article III Standing...................................................... 5
                 1.         All Twenty-Five Plaintiffs Fail to Establish Harm as Personal
                            Travelers. ................................................................................................... 5
                            a.         23 Plaintiffs Have Not Flown Spirit Once Since November
                                       2018; None of the Plaintiffs Have Concrete Plans to Fly
                                       Spirit............................................................................................... 5
                            b.         All 25 Plaintiffs Testified that They Have No Concrete,
                                       Imminent Plans to Fly Spirit .......................................................... 7
                            c.         Plaintiffs’ Generic Grievances about Airline Mergers Are
                                       Insufficient for Article III Standing ............................................... 8
                 2.         Twenty-Four Plaintiffs Are Financially Indifferent to, or Stand to
                            Benefit from, the Merger in their Professional Capacities. ....................... 9
                            a.         Plaintiffs Offered No Fact or Expert Evidence to Establish
                                       Any Professional Harm ................................................................ 10
                            b.         15 of the 25 Plaintiffs Are Financially Agnostic or Stand to
                                       Benefit from the Merger .............................................................. 10
                            c.         The Remaining 9 Plaintiffs Are Retired or Deceased .................. 12
       B.        Plaintiffs Separately Cannot Meet their Burden of Showing Irreparable
                 Injury for an Injunction. ....................................................................................... 13
                 1.         Plaintiffs’ Speculative Harms Are Not Irreparable. ................................. 14
                 2.         Plaintiffs’ Speculative Harms are Remediable By Money
                            Damages. .................................................................................................. 15
V.     CONCLUSION ................................................................................................................ 17




                                                                   i
           Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 3 of 25


                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)
Cases

Am. Tunaboat Ass’n v. Brown,
   67 F.3d 1404 (9th Cir. 1995) ...................................................................................................15

Bradt v. T-Mobile US, Inc.,
   2020 WL 1233939 (N.D. Cal. Mar. 13, 2020) ...................................................................13, 17

Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc.,
   429 U.S. 477 (1977) ...................................................................................................................3

California v. Am. Stores Co.,
   495 U.S. 271 (1990) ...............................................................................................................4, 9

Carney v. Adams,
   141 S. Ct. 493 (2020) .........................................................................................................3, 7, 8

Celotex Corp. v. Catrett,
   477 U.S. 317 (1986) .............................................................................................................3, 10

Charlesbank Equity Fund II v. Blinds To Go, Inc.,
   370 F.3d 151 (1st Cir. 2004) ....................................................................................................15

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013) .............................................................12

Dep’t of Commerce v. New York,
   139 S. Ct. 2551 (2019) ...............................................................................................................3

eBay Inc. v. MercExchange, L.L.C.,
   547 U.S. 388 (2006) .................................................................................................................17

Ferring Pharms. Inc. v. Watson Pharms, Inc.,
   765 F.3d 205 (3d Cir. 2014).....................................................................................................14

Fjord v. AMR Corp. (In re AMR Corp.),
   527 B.R. 874 (Bankr. S.D.N.Y. 2015) ............................................................................. 8-9, 12

Fleet Nat’l Bank v. H&D Ent., Inc.,
   96 F.3d 532 (1st Cir. 1996) ........................................................................................................7

Goodwin v. C.N.J., Inc.,
   436 F.3d 44 (1st Cir. 2006) ......................................................................................................13

Gross v. Landry,
   2018 WL 2210427 (D. Me. May 14, 2018) ...............................................................................4




                                                                    ii
           Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 4 of 25


                                                  TABLE OF AUTHORITIES
                                                         continued

                                                                                                                                        Page(s)
In re Korean Airlines Disaster of Sept. 1, 1983,
    829 F.2d 1171 (D.C. Cir. 1987) (Ginsburg, J.) ..........................................................................4

L.A. Mem. Coliseum Comm’n v. NFL,
   634 F.2d 1197 (9th Cir. 1980) ...................................................................................................5

Lanovaz v. Twinings N. Am., Inc.,
   726 F. App’x 590 (9th Cir. 2018) ..............................................................................................7

Lujan v. Defenders of Wildlife,
   504 U.S. 555 (1992) .............................................................................................................3, 12

Magarin v. Hawkins,
  321 F.3d 235 (1st Cir. 2003) ......................................................................................................3

Mahroom v. Best Western Int’l, Inc.,
  2009 WL 248262 (N.D. Cal. Feb. 2, 2009) .............................................................................14

Malaney v. UAL Corp.,
   2010 WL 3790296 (N.D. Cal. Sept. 27, 2010), aff’d, 434 F. App’x 620 (9th
   Cir. 2011) ............................................................................................................... 4-5, 9, 14, 15

McCarthy v. Intercontinental Exch., Inc.,
  2022 WL 4227247 (N.D. Cal. Sept. 13, 2022) .............................................................. 3-4, 5, 9

McMenamon v. Shibinette,
  2022 WL 17417286 (D.N.H. Dec. 5, 2022)...............................................................................4

Narragansett Indian Tribe v. Guilbert,
   934 F.2d 4 (1st Cir. 1991) ........................................................................................................14

In re New Motor Vehicles Canadian Exp. Antitrust Litig.,
    522 F.3d 6 (1st Cir. 2008) ................................................................................................3, 7, 13

In re Nexium (Esomeprazole) Antitrust Litig.,
    309 F.R.D. 107 (D. Mass. July 30, 2015) (Young, J.) .........................................................4, 16

In re Nexium (Esomeprazole) Antitrust Litig.,
    42 F. Supp. 3d 231 (D. Mass. 2014) (Young, J.), aff’d 842 F.3d 34 (1st Cir.
    2016) ........................................................................................................................................10

Nypl v. JP Morgan Chase & Co.,
   2023 WL 2712274 (S.D.N.Y. Mar. 30, 2023) .....................................................................6, 10

O’Neill v. Coca-Cola Co.,
   669 F. Supp. 217 (N.D. Ill. 1987) ..............................................................................................7

                                                                        iii
           Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 5 of 25


                                                 TABLE OF AUTHORITIES
                                                        continued

                                                                                                                                     Page(s)
Orkin v. Albert,
   579 F. Supp. 3d 238 (D. Mass. 2022) ......................................................................................13

Parks v. Watson,
   716 F.2d 646 (9th Cir. 1983) ...................................................................................................12

Rohm & Haas Elec. Materials, LLC v. Elec. Circuits Supplies, Inc.,
   759 F. Supp. 2d 110 (D. Mass. 2010) ..........................................................................15, 16, 17

SoClean, Inc. v. Sunset Healthcare Sols., Inc.,
   2020 WL 978037 (D. Mass. Feb. 28, 2020) ...................................................................... 13-14

Spokeo, Inc. v. Robbins,
   578 U.S. 330 (2016) ...............................................................................................................3, 7

Sullivan v. Tagliabue,
    828 F. Supp. 114 (D. Mass. 1993), aff’d, 25 F.3d 43 (1st Cir. 1994) ........................................8

Taleff v. Sw. Airlines Co.,
   828 F. Supp. 2d 1118 (N.D. Cal. 2011), aff’d, 554 F. App’x 598 (9th Cir.
   2014) ................................................................................................................................ passim

Transunion LLC v. Ramirez,
   141 S. Ct. 2190 (2021) ...............................................................................................................3

United States v. Borden Co.,
   347 U.S. 514 (1954) .........................................................................................................4, 9, 14

Zenith Radio Corp. v. Hazeltine Rsch., Inc.,
   395 U.S. 100 (1969) ...................................................................................................................3

Other Authorities

Fed. R. Civ. P. 56 .............................................................................................................................3




                                                                       iv
          Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 6 of 25




I.        PRELIMINARY STATEMENT

          In bringing this case, twenty-five plaintiffs (“Plaintiffs”)—one of whom is deceased1—

seek to deprive millions of people across the United States of the benefits from JetBlue Airways

Corporation’s (“JetBlue”) proposed acquisition of Spirit Airlines, Inc. (“Spirit”). If this case goes

to trial, JetBlue and Spirit will demonstrate that this merger will force the dominant Big Four

airlines (American, Delta, United, and Southwest) to compete harder to win the business of

American consumers. At the same time, evidence will show that the merger will expand

opportunities for Ultra-Low Cost Carriers (such as Frontier, Allegiant, Avelo, Sun Country, and

Breeze) to grow and serve the flying public.

          But the Court does not need to evaluate the merits of this merger because these Plaintiffs

do not have constitutional standing under Article III to bring this case.2 To meet this threshold

burden, each of the Plaintiffs must—but fails to—establish they have suffered an injury-in-fact

that is concrete, particularized, and actual or imminent. As Plaintiffs only seek an injunction of an

event that has yet to occur, Plaintiffs have not suffered any injury. Rather, they say they will be

injured, but rely solely on vague and speculative harms based on two general facts: (1) “[e]ach

Plaintiff is an air passenger”; and (2) “some [Plaintiffs] are travel agents.” Dkt. 1, ¶ 42. But neither

of these facts is sufficient to confer standing under the Constitution.

          First, Plaintiffs speculate the merger will harm them as general consumers of air travel.

But such generalized allegations of injury are insufficient under Article III, and each Plaintiff fails

to establish that they are likely to suffer injury from this merger. The undisputed facts show that,

as of the close of fact discovery, none of the twenty-five Plaintiffs had concrete, imminent plans

to fly Spirit. And, contrary to their own allegations, the undisputed facts show that twenty-three


1
    Plaintiff Stansbury passed away on February 14, 2023. SUMF ¶ 26.
2
    For the same reasons Plaintiffs lack Article III standing, they also lack antitrust standing.

                                                    1
        Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 7 of 25




Plaintiffs have not flown Spirit, even once, on any route in the four years prior to filing the

Complaint on November 3, 2022. Although Plaintiffs claim they may “some day” fly Spirit,

wishful thinking does not establish Article III standing.

       Second, while Plaintiffs have apparently abandoned this theory, Plaintiffs previously

seemed to allege injury based on their current or past affiliation with a travel agency, which also

fails to establish standing. Any such Plaintiff would fall into one of two categories: (a) a current

travel agency owner or employee, who is financially agnostic to the merger or (if their allegations

are true) stands to profit from it; or (b) a person who is deceased, retired, or has not recently

received income from the travel industry—such that the merger is “irrelevant” to them.

       Summary judgment is also separately justified because this merger does not expose

Plaintiffs to irreparable injury that could not be remedied by monetary damages. If the DOJ case

proceeds to trial, the merits of that trial will determine whether the merger occurs, thereby mooting

or denying the relief Plaintiffs seek. Moreover, monetary damages would address Plaintiffs’

grievances. Plaintiffs have a decades-long history of filing suits to enjoin mergers in the airline

industry and others. Not once have they prevailed in enjoining an airline merger, but they have

accepted monetary settlements. For Plaintiffs, this case is fundamentally about money.

       Accordingly, summary judgment should issue.

II.    BACKGROUND

       On July 28, 2022, JetBlue and Spirit executed a final merger agreement. Statement of

Undisputed Material Facts (hereinafter “SUMF”) ¶ 1. On November 23, 2022, Plaintiffs filed suit

in the Northern District of California to enjoin the merger. Id. ¶ 2; Dkt. 1. After the U.S.

Department of Justice filed an action to enjoin the merger in this Court, this case was transferred.

SUMF ¶ 3. Prior to the close of fact discovery on June 28, 2023, JetBlue and Spirit served written

discovery on all twenty-five Plaintiffs and deposed all living Plaintiffs. On July 28, 2023,

                                                 2
        Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 8 of 25




Plaintiffs served a report by Plaintiffs’ expert, Ted Tatos. SUMF ¶ 195.

III.   LEGAL STANDARD

       In the absence of a material factual dispute, a “party who fails to make a showing sufficient

to establish the existence of an element essential to that party’s case, and on which that party []

bear[s] the burden of proof,” is subject to summary judgment. Celotex Corp. v. Catrett, 477 U.S.

317, 322 (1986); see Fed. R. Civ. P. 56. On summary judgment, Plaintiffs bear a higher burden of

establishing standing than on a motion to dismiss. Lujan v. Defenders of Wildlife, 504 U.S. 555,

561 (1992) (a plaintiff must provide “specific facts” to show standing on summary judgment);

Magarin v. Hawkins, 321 F.3d 235, 240 (1st Cir. 2003) (‘“[C]onclusory allegations, improbable

inferences, and unsupported speculation’ are insufficient to defeat summary judgment.”).

       Plaintiffs cannot establish Article III or antitrust standing—threshold prerequisites for any

Clayton Act claim. For Article III standing, each plaintiff must prove: “(i) that he suffered an

injury in fact that is concrete, particularized, and actual or imminent; (ii) that the injury was likely

caused by the defendant; and (iii) that the injury would likely be redressed by judicial relief.”

Transunion LLC v. Ramirez, 141 S. Ct. 2190, 2203 (2021) (citing Lujan, 504 U.S. at 560–61).

Injury in fact cannot be “conjectural or hypothetical,” Spokeo, Inc. v. Robbins, 578 U.S. 330, 339

(2016), and it must be “actual or imminent,” Carney v. Adams, 141 S. Ct. 493, 498 (2020). For

antitrust standing, Plaintiffs must also prove “antitrust injury, which is to say injury of the type

the antitrust laws were intended to prevent and that flows from that which makes defendants’ acts

unlawful.” Brunswick Corp. v. Pueblo Bowl-O-Mat, Inc., 429 U.S. 477, 489 (1977) (emphasis

added); In re New Motor Vehicles Canadian Exp. Antitrust Litig., 522 F.3d 6, 13 (1st Cir. 2008)

(quoting Zenith Radio Corp. v. Hazeltine Rsch., Inc., 395 U.S. 100, 130 (1969); Dep’t of

Commerce v. New York, 139 S. Ct. 2551, 2565 (2019) (plaintiffs must show “substantial risk that

the harm will occur”) (internal quotations marks and citation omitted); McCarthy v.

                                                   3
        Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 9 of 25




Intercontinental Exch., Inc., No. 20-CV-05832, 2022 WL 4227247, at *3 (N.D. Cal. Sept. 13,

2022) (“Antitrust standing . . . requires a ‘more demanding’ showing” than Article III.).

       Summary judgment is separately proper because, not only do Plaintiffs fail to establish

Article III or antitrust standing, they also cannot demonstrate irreparable injury to justify injunctive

relief. E.g., In re Nexium (Esomeprazole) Antitrust Litig., 309 F.R.D. 107, 137 (D. Mass. July 30,

2015) (Young, J.); Gross v. Landry, No. 17-cv-00297, 2018 WL 2210427 (D. Me. May 14, 2018),

report and recommendation adopted, 2018 WL 3117227 (D. Me. June 25, 2018); McMenamon v.

Shibinette, No. 21-cv-479, 2022 WL 17417286, at *5 (D.N.H. Dec. 5, 2022) (granting summary

judgment on injunctive claim because plaintiff could not establish Article III standing). Plaintiffs

seeking an injunction must prove: (1) irreparable injury; (2) that remedies at law are inadequate;

(3) the balance of hardships favors them; and (4) the injunction is in the public interest. In re

Nexium, 309 F.R.D. at 137; Taleff v. Sw. Airlines Co., 828 F. Supp. 2d 1118, 1122 (N.D. Cal.

2011), aff’d, 554 F. App’x 598 (9th Cir. 2014).3 Failing to prove any these factors necessitates

summary judgment.

       Moreover, for an injunction to issue, each Plaintiff also “must prove ‘threatened loss or

damage’ to his own interests in order to obtain relief.” California v. Am. Stores Co., 495 U.S. 271,

296 (1990) (quoting 15 U.S.C. § 26); United States v. Borden Co., 347 U.S. 514, 518 (1954)

(“private plaintiff . . . may be expected to exercise [an injunction] only when his personal interest

will be served”). Plaintiffs bear the burden of proving entitlement to injunctive relief by showing

irreparable harm separate and apart from the flying public as a whole. Malaney v. UAL Corp., No.




3
 The law of the transferee forum applies following a permissive transfer, but the transferor’s law
may still receive “close consideration.” In re Korean Airlines Disaster of Sept. 1, 1983, 829 F.2d
1171, 1176 (D.C. Cir. 1987) (Ginsburg, J.). The First Circuit and Ninth Circuit’s law do not
materially differ with respect to Article III standing, antitrust standing, or injunctive relief.

                                                   4
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 10 of 25




3:10-CV-02858, 2010 WL 3790296, at *13 (N.D. Cal. Sept. 27, 2010), aff’d, 434 F. App’x 620

(9th Cir. 2011). To obtain injunctive relief, Plaintiffs must also prove harm beyond that which is

necessary to establish standing. L.A. Mem. Coliseum Comm’n v. NFL, 634 F.2d 1197, 1201 (9th

Cir. 1980).

IV.    ARGUMENT

       A.      Plaintiffs Fail to Establish Article III Standing.

       All twenty-five Plaintiffs fail to establish Article III standing because the undisputed facts

show that they have not suffered any particularized, imminent injury-in-fact, either as general

consumers of air travel or as travel agents. All twenty-four living Plaintiffs allege that they suffer

harm as personal travelers, but the undisputed facts demonstrate this is false. Twenty-three living

Plaintiffs4 state that they work for or previously worked in the travel industry; fifteen currently

work in the industry, eight others formerly worked in the industry. To the extent these twenty-

three Plaintiffs claim that the merger will harm them in their professional capacities, the facts belie

that claim. “If standing is not found, an essential element of [each] plaintiff’s case is missing and

[Plaintiffs’] case fails.” McCarthy, 2022 WL 4227247, at *3.

               1.      All Twenty-Five Plaintiffs Fail to Establish Harm as Personal Travelers.

                       a.      23 Plaintiffs Have Not Flown Spirit Once Since November 2018;
                               None of the Plaintiffs Have Concrete Plans to Fly Spirit

       In their Complaint and in discovery, Plaintiffs allege injury as general consumers of air

travel with the “interest and intent in insuring that the unique qualities of Spirit are preserved as a

competitive option for them[selves].” Dkt. 1, ¶ 42. Ostensibly in support of this allegation, the


4
  Defendants include Stansbury in this category, but because she passed away, Defendants have
not received any discovery from her. SUMF ¶ 26. The twenty-fifth and final Plaintiff (Nieboer)
alleges harm only in his personal capacity. Nieboer testified he works at a construction company;
inherited his mother’s travel agency for “a month” before selling it; and has no intention of working
as a travel agent. SUMF ¶¶ 147-148.

                                                  5
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 11 of 25




Complaint avers: “Many of the Plaintiffs have flown on JetBlue and/or Spirit and/or American

Airlines within the last four years.” Id.

       But the undisputed record—especially Plaintiffs’ interrogatory responses and deposition

testimony—tells the opposite story. In reality, twenty-three Plaintiffs5 have not flown Spirit even

one time “within the last four years” prior to the Complaint being filed. SUMF ¶ 27; see Nypl v.

JP Morgan Chase & Co., No. 15 civ. 9300, 2023 WL 2712274, at *2 (S.D.N.Y. Mar. 30, 2023)

(holding that many of these same Plaintiffs failed to establish injury where they failed to prove

that they purchased the good at issue). These twenty-three Plaintiffs have no recent history of

flying Spirit and cannot establish they are imminently likely to fly Spirit in the future. Indeed,

according to both Plaintiffs’ responses to requests for admission and a report written by Plaintiffs’

expert Mr. Tatos, sixteen Plaintiffs6 admitted they “have never flown Spirit.” SUMF ¶¶ 27, 197.

       While two Plaintiffs (G. Garavanian and Nieboer) testified to flying Spirit more recently,

they too lack standing because none of the Plaintiffs, including those two, have flown Spirit along

any of the routes Plaintiffs identified in their verified interrogatory responses as the harmed routes

even once “within the last four years” since filing the Complaint. SUMF ¶ 28. Nor does any

Plaintiff, including those two, have concrete, imminent plans to fly Spirit in the future. See infra

Section V.A.1.b. Where, as here, Plaintiffs cannot establish particularized “threatened [] injury”

because they did not “show that [they] purchase[] the product[]” at issue, they lack standing.




5
  The twenty-three Plaintiffs who have not produced any evidence of taking even a single Spirit
flight “within the last four years” prior to filing their Complaint are: Arcell, Brito, Brown,
D’Augusta, Davis, Faust, Fjord, Freeland, Fry, H. Garavanian, Gardner, Jolly, Malaney, Marazzo,
McCarthy, Pulfer, Russell, Rubinsohn, Stansbury, Stensrud, Talewsky, Ward, and Whalen. SUMF
¶ 27.
6
  The sixteen Plaintiffs who admitted they have never flown Spirit are: Arcell, Brito, Brown,
D’Augusta, Davis, Faust, H. Garavanian, Malaney, Marazzo, McCarthy, Pulfer, Rubinsohn,
Russell, Stensrud, Ward, and Whalen. SUMF ¶ 27.

                                                  6
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 12 of 25




O’Neill v. Coca-Cola Co., 669 F. Supp. 217, 221, 223 (N.D. Ill. 1987).

                         b.     All 25 Plaintiffs Testified that They Have No Concrete, Imminent
                                Plans to Fly Spirit

        The undisputed facts also confirm that, as of the close of fact discovery, each of the twenty-

five Plaintiffs lacks concrete, imminent plans to fly Spirit—such as by booking a future Spirit

flight. Although some Plaintiffs expressed interest in future travel, and perhaps even some day to

fly Spirit, testimonial evidence confirms that, as of the close of fact discovery, none of the twenty-

five Plaintiffs has concrete plans to book a future flight. SUMF ¶ 27. See Fleet Nat’l Bank v.

H&D Ent., Inc., 96 F.3d 532, 540 (1st Cir. 1996) (granting summary judgment notwithstanding

the nonmovant’s “conclusory affidavit”). Indeed, Plaintiffs have no Spirit routes selected, no

precise travel dates, and/or no firm sense of whether they would even fly Spirit or another airline.

Spokeo, 578 U.S. at 339 (rejecting “conjectural or hypothetical” injury) (internal quotation marks

and citation omitted).

        In re New Motor Vehicles is instructive. There, 36 plaintiffs purported to represent a class

of automobile purchasers seeking injunctive relief under Section 16 of the Clayton Act. 522 F.3d

at 15. The court found that the plaintiffs who had previously purchased cars lacked standing

because “[n]owhere” did the evidence show “named plaintiff’s intention to buy or lease another

new vehicle within such a time that could be deemed imminent.” Id. Here, too, Plaintiffs have no

concrete plans to fly Spirit, let alone fly Spirit imminently. Plaintiffs’ “some day” intentions to

fly Spirit are insufficient to prove particularized, imminent injury under Article III or the drastic

remedy of an injunction. Carney, 141 S. Ct. at 502 (“some day intentions do not support a finding

of [] actual or imminent injury”) (internal quotation marks and citation omitted); Lanovaz v.

Twinings N. Am., Inc., 726 F. App’x 590 (9th Cir. 2018) (“that [plaintiff] would ‘consider buying’

[the] product[] do[es] not satisfy [Article III]”) (citation omitted).


                                                   7
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 13 of 25




                       c.      Plaintiffs’ Generic Grievances about Airline Mergers Are
                               Insufficient for Article III Standing

       Some Plaintiffs attempt to resuscitate their lack of personal injury by complaining about

airline mergers generally and speculating about the merger’s impact on the flying public (rather

than themselves). This too is insufficient. See Carney, 141 S. Ct. at 499, 502 (plaintiff “has not

sufficiently differentiated himself from a general population of individuals” but instead raises

“generalized grievance”).

       As one example, as of 2008, at least fifteen Plaintiffs7 owned “shares” in a Passengers

Against Mergers (“PAMA”) coalition, which was founded to “halt all pending and contemplated

airline mergers” on the categorical view that “mergers are not to the benefit of the traveling public

or the towns and cities served by said airlines.” SUMF ¶ 11. Of course, harm from mergers

generally is not the same as alleging specific harm from this proposed transaction.

       Similarly, some Plaintiffs testified the merger may affect “all air travelers” and “the

public.” SUMF ¶¶ 149, 187. For example, Plaintiff Faust complains of hardship to “lots of

people” and customers, SUMF ¶ 77; Fjord complains of harm to student customers and “friends,”

SUMF ¶ 83; and Gardner says she brings lawsuits to stop mergers to “look[] out for [her] clients,”

SUMF ¶ 115. But the law is settled: Individual plaintiffs cannot bring representative claims on

behalf of non-parties and cannot establish Article III standing based on alleged harm to non-parties.

Sullivan v. Tagliabue, 828 F. Supp. 114, 120 (D. Mass. 1993) (in § 4 damages case, injuries

“merely derivative of [another’s] are too indirect and tangential to support [an] individual action”),

aff’d, 25 F.3d 43 (1st Cir. 1994); see also Fjord v. AMR Corp. (In re AMR Corp.), 527 B.R. 874,


7
  The fifteen Plaintiffs with shares in the 2008 Passengers Against Mergers agreement are:
D’Augusta, Fjord, Fry, G. Garavanian, H. Garavanian, Gardner, Jolly, Malaney, McCarthy, Pulfer,
Russell, Stansbury, Stensrud, Talewsky, Ward. SUMF ¶ 11; see also SUMF ¶ 116 (“[Q:] Are you
saying that you don’t have any control over whether you file a lawsuit [against airline mergers]?
Gardner A: That’s true, that’s true. I don’t.”).

                                                  8
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 14 of 25




891 (Bankr. S.D.N.Y. 2015) (rejecting claim by travel agent Plaintiffs Jolly and Fjord that they

could challenge airline mergers on behalf of their customers).

        Along these lines, the twenty-four living Plaintiffs served virtually-identical discovery

responses declaring that the merger will affect 121 routes Spirit currently operates—but as noted

above, not one Plaintiff has flown Spirit along those routes “within the last four years” prior to

filing their Complaint through present. SUMF ¶ 28. In the identical words in their interrogatory

answers: “The elimination of Spirit will further substantially threaten to harm U.S. passengers

through increases in the price of tickets, checked bags and flight change fees, translating to billions

of dollars of harm to consumers annually . . . .” SUMF ¶ 35. Plaintiffs’ expert Mr. Tatos spoke

in similar generalities, speculating monetary harms applicable to “Plaintiffs, as well as other air

travelers,” with no mention of any alleged injuries uniquely affecting Plaintiffs. SUMF ¶ 196.

        Plaintiffs’ fact and expert admissions reveal the telling absence of any nexus between

Plaintiffs and their alleged harm. See Am. Stores Co., 495 U.S. at 296; Borden, 347 U.S. at 518;

McCarthy, 2022 WL 4227247, at *4 (many of the same Plaintiffs had no standing where they

merely alleged harm as general consumers); Malaney, 2010 WL 3790296, at *13 (finding that

many of the same Plaintiffs lacked personalized harm). Speculative grievances about alleged harm

to the flying public or about all mergers writ large are insufficient to prove particularized,

imminent injury for Article III standing here.

                2.      Twenty-Four Plaintiffs Are Financially Indifferent to, or Stand to Benefit
                        from, the Merger in their Professional Capacities.

        The Complaint alleges “some” Plaintiffs face harm in their capacity as travel agents, Dkt.

1, ¶ 42, but Plaintiffs appear to have abandoned this theory during discovery—and thus cannot

prove it at trial. But in any event, Plaintiffs have no standing to assert harm based on these

Plaintiffs’ affiliation with the travel industry, as a matter of law, because they are retired, deceased,


                                                   9
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 15 of 25




or their travel agency income is agnostic to and/or benefitted by their speculative harm. See infra

Sections IV.2.b-c.

                       a.      Plaintiffs Offered No Fact or Expert Evidence to Establish Any
                               Professional Harm

       During discovery, Plaintiffs produced no business records detailing their travel agencies’

profits and losses, fees, or costs. Nor could Plaintiffs testify to those facts with precision. See,

e.g., SUMF ¶ 174 (“Q: And you have no knowledge of the total income or revenue [your travel

agency] receives? Stensrud A: Correct.”). Plaintiffs cannot show what their businesses look like

today, much less infer what impact the merger might have on their businesses in the future.8

Likewise, Plaintiffs’ expert offers zero evidence of Plaintiffs’ alleged harms as travel agents. See

SUMF ¶ 196. Without meaningful fact and expert evidence, Plaintiffs’ alleged injury based on

their travel agency affiliations suffers from “complete failure of proof,” such that Plaintiffs

necessarily lack standing on this basis. Celotex, 477 U.S. at 322–23; Nypl, 2023 WL 2712274, at

*4 (granting summary judgment on similar claims for failure to prove harm).

                       b.      15 of the 25 Plaintiffs Are Financially Agnostic or Stand to Benefit
                               from the Merger

       But even assuming Plaintiffs are pursuing the theory that Plaintiffs suffer harm in their

professional capacities, the undisputed facts show that this is not true. The fifteen Plaintiffs9 who



8
  Because Plaintiffs have not produced these records, they cannot offer expert testimony on this
point either; it is well-established that “expert testimony without a factual foundation cannot defeat
a motion for summary judgment.” In re Nexium (Esomeprazole) Antitrust Litig., 42 F. Supp. 3d
231, 248 (D. Mass. 2014) (Young, J.), aff’d 842 F.3d 34 (1st Cir. 2016) (internal quotation marks
and citations omitted).
9
  The fifteen Plaintiffs currently affiliated with travel agencies are: Brito (travel agent), Brown
(Beach Boys travel manager), Faust (travel agent), Fjord (travel agent), Freeland (travel agent),
Fry (travel agent), G. Garavanian (travel agent), Gardner (travel agent), Jolly (travel agent),
McCarthy (works for a travel agency, but is not a travel agent), Pulfer (travel agent), Rubinsohn
(travel agent), Stensrud (travel agency owner), Talewsky (travel agent), and Ward (travel agent).
SUMF ¶ 29.

                                                 10
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 16 of 25




are presently affiliated with travel agencies would be unaffected by the merger in their professional

capacities. Of those fifteen, two Plaintiffs (Brown and McCarthy)10 testified they earn a set annual

salary regardless of the price, quantity, or airlines of flights booked. SUMF ¶ 55 (Brown receives

the “same salary” whether she books “a thousand flights” or “100 flights,” “regardless of which

airline people choose to fly,” and “regardless of the ticket price that is paid.”); SUMF ¶ 141 (“Q:

So regardless of [the travel agency’s] performance in a given year, your salary remains the same?

McCarthy A. That’s correct.”). Consequently, the merger will not impact their salaries and neither

has an ownership stake in a travel agency. SUMF ¶¶ 54, 140.

       The remaining thirteen Plaintiffs, based on their own testimony, earn revenue from booking

airline tickets in two ways: charging a flat service/booking fee for each ticket booked on their

customers’ behalf, and/or charging a percentage fee based on the overall fare for certain tickets.

SUMF ¶ 30. In either instance, Plaintiffs cannot show business injury from the merger. Flat fees

do not depend on the price or airline booked, and so any alleged fare increase or inability to book

Spirit tickets could not affect those travel agent Plaintiffs.11 For those Plaintiffs who receive a

percentage cut of the overall ticket fare, any hypothetical fare increase would culminate in higher



10
   Brown gave inconsistent responses as to whether she is a travel agent. Compare SUMF ¶ 54
(stating in her verified response to Defendants’ Interrogatory No. 5 that she has been a “travel
agent” for “Meleco Travel” from “January 10th, 2010, to present”), with id. (admitting in her
deposition and verified responses to Defendants’ Request for Admission No. 4 she is “not presently
employed as a travel agent”). In an abundance of caution, Defendants assume that Brown is also
asserting Article III standing in her professional capacity.
11
   For instance, during her deposition, Fry stated: “[W]hether my clients fly Airline A or Airline
B does not really affect my income. I would charge them a service fee.” SUMF ¶ 95; see, e.g.,
id. (“Q: Got it. So whether your clients flew Spirit or United, you still receive the same fee?
Fry A: Correct.”). Similarly, when Defendants asked Jolly if she charges “a flat fee that does
not depend on the price of the ticket” or the airline—whether “United,” “American,” “JetBlue,”
or “Spirit”—Jolly responded: “Correct.” Id. ¶ 121; see, e.g., id. ¶ 160 (“Q: Okay. So [your
service fee]’s not based on the cost of the flight in any way? Rubinsohn A: Nope.”); id. ¶ 180
(“Q: Does the service fee differ by airline or is it the same across airlines? Talewsky A: No, it’s
usually pretty much the same.”).

                                                 11
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 17 of 25




revenue for each ticket booked.12 Accordingly, any Plaintiffs who charge scaling fees based on

ticket fares would profit personally from the harm they allege (i.e., higher fares).

       To the extent these Plaintiffs may assert that their overall service fees, whether flat or

scaling, would decrease because fewer passengers will book flights post-merger, Plaintiffs

produced no business records suggesting this would be true, and as such are unable to offer

anything beyond rank speculation. See supra Section IV.A.2.a. Such speculation is not the type

of “concrete, particularized, and actual or imminent” injury that establishes Article III standing.

Clapper v. Amnesty Int’l USA, 568 U.S. 398, 409 (2013); see id. (“allegations of possible future

injury are not sufficient” to constitute injury-in-fact) (emphasis in original) (internal quotation

marks and citation omitted); In re AMR Corp., 527 B.R. at 891; see also Parks v. Watson, 716 F.2d

646, 662 (9th Cir. 1983); see also Lujan, 504 U.S. at 583 (“[W]e have denied standing to plaintiffs

whose likelihood of suffering any concrete adverse effect from the challenged action was

speculative.”).

       These fifteen Plaintiffs who are presently affiliated with travel agencies have not suffered

injury-in-fact and, as such, lack Article III standing.

                       c.      The Remaining 9 Plaintiffs Are Retired or Deceased13

       The undisputed facts show that the remaining nine Plaintiffs also lack Article III standing

because they are no longer in the travel industry (and one is deceased). Six Plaintiffs (Arcell,



12
   For example, when asked “if the price of a ticket is higher, you would receive a larger share of
commission?”, Brito responded: “Correct.” Id. ¶ 48; see e.g., id. ¶ 121 (“Q: And so if a flight
were more expensive, the percentage commission would be higher in total dollar value? Jolly A:
Yes.”); id. ¶ 101 (G. Garavanian “A: You know, whatever the price is for the airline ticket, the
fee will be higher, okay”).
13
   The nine retired or deceased Plaintiffs are: Arcell, D’Augusta, Davis, H. Garavanian, Malaney,
Marazzo, Russell, Stansbury, and Whalen. Due to Stansbury’s passing, Defendants do not know
whether Stansbury alleged injury on the basis of her employment. Id. ¶ 26. Plaintiffs did not
produce discovery regarding Stansbury. Id.

                                                  12
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 18 of 25




D’Augusta, H. Garavanian, Malaney, Marazzo, and Whalen) no longer own or work for any travel

agency because they have retired from the travel industry altogether. SUMF ¶¶ 41, 63, 107, 128,

134, 193. By way of example, when asked whether the merger would affect his travel agency or

income, H. Garavanian testified: “It’s irrelevant—not to be—this isn’t to be snitty, it’s really

irrelevant because I’m out of business.” SUMF ¶ 107 (emphasis added). The seventh Plaintiff

(Davis) has been “semi-retired” since 2016 and has not sold airline tickets in the last five years,

SUMF ¶ 69, and the eighth Plaintiff (Russell) stopped issuing airline tickets at the end of 2022,

SUMF ¶ 166. And it is undisputed that the ninth and last Plaintiff (Stansbury) is deceased and can

no longer earn income, whether as a travel agent or otherwise. SUMF ¶¶ 26, 168. Nor can

Plaintiffs establish any conceivable harm to Stansbury from a future merger. Goodwin v. C.N.J.,

Inc., 436 F.3d 44, 48–49 (1st Cir. 2006). Consequently, all nine lack Article III standing. See In

re New Motor, 522 F.3d at 15.

       B.      Plaintiffs Separately Cannot Meet their Burden of Showing Irreparable
               Injury for an Injunction.

       Plaintiffs must prove two requisite elements to obtain an injunction: (1) irreparable harm

and (2) inadequacy of monetary relief. Plaintiffs fail on both grounds. First, the undisputed record

reveals that Plaintiffs lack any injury, much less particularized irreparable injury required to enjoin

the proposed merger. See Orkin v. Albert, 579 F. Supp. 3d 238, 245 (D. Mass. 2022) (“Irreparable

harm constitutes a necessary threshold showing for an award of preliminary injunctive relief.”)

(internal quotation marks and citation omitted); Taleff, 828 F. Supp. 2d at 1123 n.7; Bradt v. T-

Mobile US, Inc., No. 19-cv-7752, 2020 WL 1233939, at *3 (N.D. Cal. Mar. 13, 2020). Second,

Plaintiffs have failed to establish “an actual, viable, presently existing threat of serious harm that

cannot be adequately remedied through money damages alone.”                 SoClean, Inc. v. Sunset

Healthcare Sols., Inc., No. 20-cv-10351, 2020 WL 978037, at *4 (D. Mass. Feb. 28, 2020) (internal


                                                  13
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 19 of 25




quotation and citation omitted); Mahroom v. Best Western Int’l, Inc., No. C 07-2351, 2009 WL

248262, at *3 (N.D. Cal. Feb. 2, 2009) (internal quotation marks and citation omitted). Indeed,

Plaintiffs’ evidence and long history of settling airline merger suits for money shows just the

opposite—that Plaintiffs themselves regard monetary remedies as adequate to address their alleged

grievances.

               1.      Plaintiffs’ Speculative Harms Are Not Irreparable.

       For an injunction, each Plaintiff has the burden to demonstrate irreparable harms “that are

personal to them were defendants to merge, and [the Court] cannot consider any injuries that

plaintiffs allege would be suffered by the general air carrier flying public as a whole.” Malaney,

2010 WL 3790296, at *13. Irreparable harm may “not [be] assumed; it must be demonstrated,”

and “speculative injury does not constitute a showing of irreparable harm.” Narragansett Indian

Tribe v. Guilbert, 934 F.2d 4, 6–7 (1st Cir. 1991) (emphasis added) (internal quotation marks and

citation omitted).

       On irreparable harm, Malaney is right on point. In that case, many of the same Plaintiffs

sued to enjoin the merger of United and Continental.14 After an evidentiary hearing, the court

found Plaintiffs failed “to establish any significant harm they will personally suffer that would

warrant preliminary injunctive relief.” 2010 WL 3790296, at *13; Borden, 347 U.S. at 518

(“private plaintiff” may seek an injunction “only when his personal interest will be served.”). The

Court rejected as “speculative and de minimus” declarations with intended future travel. Malaney,

at *14. Due to the lack of a substantial showing of harm “personal to them,” id., Plaintiffs were

not entitled to an injunction then, and they are not entitled to one now. See supra Section IV.A.1.c.


14
   The elements of a preliminary injunction are the same as a permanent injunction. Ferring
Pharms. Inc. v. Watson Pharms, Inc., 765 F.3d 205, 215 n.9 (3d Cir. 2014) (“The standard for a
preliminary injunction is essentially the same as for a permanent injunction. . . .”) (internal
quotation marks and citation omitted) (collecting sources).

                                                 14
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 20 of 25




               2.      Plaintiffs’ Speculative Harms are Remediable By Money Damages.

       Plaintiffs’ allegations are not only vague, speculative, and unfounded, but as Plaintiffs and

their expert Mr. Tatos admit, their alleged harms are also quantifiable and remediable by money

damages. Am. Tunaboat Ass’n v. Brown, 67 F.3d 1404, 1411 (9th Cir. 1995) (financial harms fall

“far short of qualifying as irreparable injury” because injury of a “strictly monetary nature

generally is not cognizable as a basis for issuing an injunction”); Charlesbank Equity Fund II v.

Blinds To Go, Inc., 370 F.3d 151, 162 (1st Cir. 2004); see also Rohm & Haas Elec. Materials, LLC

v. Elec. Circuits Supplies, Inc., 759 F. Supp. 2d 110, 126 (D. Mass. 2010) (if alleged harms are

“quantifiable,” they are not “irreparable”).

       As noted above, fifteen Plaintiffs acknowledge that money damages would remedy alleged

harms from “all” airline mergers based on the financial stake they have in their anti-airline-merger

PAMA coalition, which pays out proportionally based on the ultimate monetary recovery from

their repeated suits. SUMF ¶ 11. Likewise, in near-identical interrogatory responses, all twenty-

four living Plaintiffs speculate they will suffer by paying higher prices and additional fees, SUMF

¶ 35, all of which are readily compensable through monetary damages. Taleff, 828 F. Supp. 2d at

1123, 1123 n.7 (plaintiffs had not shown money damages would be inadequate because “the harm

which Plaintiffs allege will ensue from the merger”—higher ticket prices—“is expressed in terms

of monetary damages”). Plaintiffs’ other purported harms—such as reduced scheduling, flight

capacity, and customer choice—fundamentally reduce to alleged monetary injury. Id. (finding

that claims of “diminished services” were, at bottom, monetary harms).

       Notably, Plaintiffs asked their expert Mr. Tatos whether the merger would “threaten loss

or damage to Plaintiffs” and whether that loss or damage could “be quantified”—and he answered

both questions “in the affirmative.” SUMF ¶ 195. Indeed, in a report served on July 28, 2023,

Mr. Tatos quantified Plaintiffs’ alleged harms by calculating a percent-based increase in airfare

                                                15
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 21 of 25




tickets. SUMF ¶ 196. The admission by Plaintiffs’ expert that their speculative injury could be

accurately quantified by money defeats the injunction they seek. Rohm & Haas Elec., 759 F. Supp.

2d at 126. Taleff, 828 F. Supp. 2d at 1123, 1123 n.7 (N.D. Cal. 2011). So, even assuming Plaintiffs

could establish more than speculative injury (they cannot), Plaintiffs and their expert expressly

concede that any alleged injury ultimately boils down to monetary damages.

       Moreover, the Court need look no further than Plaintiffs’ litigation history to see that many

of these Plaintiffs have brought airline merger challenges in the past, initially alleging they would

suffer irreparable harm, before accepting “remedies available at law, such as monetary damages.”15

SUMF ¶¶ 6–25; In re Nexium, 309 F.R.D. at 137. Simply put: under similar circumstances, many

of the same Plaintiffs believed money was sufficient to address their harm. If it was true then, it

is true now.

       In sum, Plaintiffs have voluntarily: (1) taken monetary settlements in return for dismissing

past airline merger lawsuits (SUMF ¶¶ 8, 10, 17), and/or (2) formed an anti-airline-merger




15
   It is undisputed that Plaintiffs accepted a monetary settlement in D’Augusta v. Northwest Airlines
Corp., No. 08-cv-3007, (N.D. Cal.). There, many of these same Plaintiffs sued to enjoin the
Delta/Northwest merger in 2008, but voluntarily dismissed their lawsuit with prejudice for a
monetary settlement. Plaintiffs refused to produce documents regarding Grace v. Alaska Air Grp.,
No. 16-cv-05165 (N.D. Cal.), but the record suggests Plaintiffs entered into a monetary settlement
in that case as well. SUMF ¶ 17 (“Q: Turning over to Grace v. Alaska, did you reach a settlement
in that case? Jolly A: I am not sure. I think -- I think we did reach a settlement in that one.”). If
Jolly is correct, then there is no dispute that twenty-three Plaintiffs (all except Nieboer and Whalen)
have voluntarily accepted money in one or more airline merger cases. And, following the Alaska
Air Group and Virgin America merger in Grace v. Alaska Air Grp., several Plaintiffs admitted the
outcome “wasn’t important to [them]” or even memorable—“once it’s over and done with, you
just go forward.” Id. (“Q: Ms. Gardner, do you recall the outcome of that case [Grace v. Alaska]?
Gardner A: I do. Q: Did the airlines merge? Gardner A: Um, I don’t know if they did or not. .
. . Q: So you were a plaintiff in Grace v. Alaska, but you don’t know what the outcome is in terms
of the merger? Gardner A: No. Q: You didn’t look it up? Gardner A: No. Q: It wasn’t important
to you? Gardner A: No.”); id. (“Q: Do you recall what airline merged with Alaska? Brown A:
No. I’m sorry. . . . Q: You just forget about them, right? Brown A: Pretty much. I mean, it --
you know, once it’s over and done with, you just go forward.”).

                                                  16
       Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 22 of 25




coalition to seek monetary payouts from “all” airline mergers in the future (SUMF ¶ 11). Thus,

any contention that these Plaintiffs face irreparable injury necessary for an injunction rings hollow.

See Rohm & Haas Elec., 759 F. Supp. 2d at 126 (irreparable harm could not be shown because

their alleged losses were “quantifiable”) (quoting eBay Inc. v. MercExchange, L.L.C., 547 U.S.

388, 391 (2006)); Taleff, 828 F. Supp. 2d at 1123, 1123 n.7; Bradt, 2020 WL 1233939, at *3.

       Further, Plaintiffs cannot meet their threshold burden of showing how their personal

grievances or their desired injunction would not be wholly mooted or rejected altogether by the

Court’s resolution of the DOJ action set for trial.

       Plaintiffs’ requested injunctive remedy is woefully inappropriate, and summary judgment

must issue.

V.     CONCLUSION

       For the foregoing reasons, Defendants’ motion for summary judgment should be granted.

Dated: August 1, 2023                                 /s/ Elizabeth Wright
                                                      Elizabeth M. Wright (MA BBO #569387)
                                                      Zachary R. Hafer (MA BBO #569389)
                                                      Cooley LLP
                                                      500 Boylston Street, 14th Floor
                                                      Boston, MA 02116-3736
                                                      Tel: 617-937-2300
                                                      ewright@cooley.com
                                                      zhafer@cooley.com

                                                      Ethan Glass (Pro Hac Vice)
                                                      Deepti Bansal (Pro Hac Vice)
                                                      Matt K. Nguyen (Pro Hac Vice)
                                                      Cooley LLP
                                                      1299 Pennsylvania Avenue NW, Suite 700
                                                      Washington, DC 2004-2400
                                                      Tel: 202-842-7800
                                                      Fax: 202-842-7899
                                                      eglass@cooley.com
                                                      dbansal@cooley.com

                                                      Beatriz Mejia (Pro Hac Vice)
                                                      Cooley LLP

                                                 17
Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 23 of 25




                                    3 Embarcadero Center, 20th Floor
                                    San Francisco, CA 94111
                                    Tel: 415-693-2000
                                    Fax: 415-693-2222
                                    bmejia@cooley.com

                                    Joyce Rodriguez-Luna (Pro Hac Vice)
                                    Cooley LLP
                                    55 Hudson Yards
                                    New York, NY 10001-2157
                                    Tel: 212 479 6895
                                    Fax: 2124796275
                                    jrodriguez-luna@cooley.com

                                    Attorneys for Defendant JetBlue Airways
                                    Corporation

                                    /s/ Andrew C. Finch
                                    Andrew C. Finch (pro hac vice)
                                    Eyitayo St. Matthew-Daniel (pro hac vice)
                                    Jay Cohen (pro hac vice)
                                    Jared P. Nagley (pro hac vice)
                                    Kate Wald (pro hac vice)
                                    Paul, Weiss, Rifkind, Wharton & Garrison
                                    LLP
                                    1285 Avenue of the Americas
                                    New York, NY 10019
                                    Tel: 212-373-3000
                                    Fax: 212-757-3990
                                    afinch@paulweiss.com
                                    tstmatthewdaniel@paulweiss.com
                                    jcohen@paulweiss.com
                                    jnagley@paulweiss.com
                                    kwald@paulweiss.com

                                    Meredith R. Dearborn (pro hac vice)
                                    Paul, Weiss, Rifkind, Wharton & Garrison
                                    LLP
                                    535 Mission Street, 24th Floor
                                    San Francisco, CA 94105
                                    Tel: 628-432-5100
                                    Fax: 628-232-3101
                                    mdearborn@paulweiss.com

                                    Attorneys for Defendant
                                    Spirit Airlines, Inc.


                               18
Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 24 of 25




                               19
          Case 1:23-cv-10678-WGY Document 173 Filed 08/01/23 Page 25 of 25




                                   CERTIFICATE OF SERVICE

            I hereby certify that this document was filed through the ECF system on August 1, 2023

and will be sent electronically to the registered participants as identified on the Notice of Electronic

Filing.

                                                       /s/ Elizabeth M. Wright
                                                       Elizabeth M. Wright



289322730




                                                  20
